 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 1 of 52 PageID# 474



            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


UNITED STATES,                     )
                                   )
           v.                      )
                                   )
WILLIAM DANIELCZYK, Jr., &         )       1:11cr85 (JCC)
EUGENE BIAGI,                      )
                                   )
     Defendants.                   )


                 M E M O R A N D U M          O P I N I O N


           This case involves an alleged scheme of recruiting

donors and reimbursing their contributions to Hillary Clinton’s

2006 and 2008 Senate and Presidential Campaigns.            Defendants’

motions to dismiss raise significant questions of statutory

construction, mens rea, and Congress’s ability to ban direct

corporate contributions in the wake of the Supreme Court’s

decision in Citizens United v. FEC, 130 U.S. 876 (2010).            For

the following reasons, the Court will grant in part and deny in

part Defendants’ motions.

                              I. Background

            On February 16, 2011, a grand jury sitting in the

Eastern District of Virginia returned a seven-count indictment

against William P. Danielczyk, Jr. and Eugene R. Biagi

(together, “Defendants”), charging them with illegally



                                       1
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 2 of 52 PageID# 475



soliciting and reimbursing contributions to Hillary Clinton’s

2006 Senate Campaign (“Senate Campaign”) and 2008 Presidential

Campaign (“Presidential Campaign”).        (Indictment [Dkt. 1]

(“Indict.”).)    The Government alleges that Mr. Danielczyk, as

Chairman of Galen Capital Group, LLC, and Galen Capital

Corporation (together, “Galen”) and Mr. Biagi, as an executive

at Galen, subverted federal campaign contribution limits by

reimbursing their employees’ costs of attending two fundraisers

Mr. Danielczyk co-hosted for the two campaigns.

           Count One charges conspiracy in violation of 18 U.S.C.

§ 371, Counts Two and Three charge making campaign contributions

in the name of another in violation of 2 U.S.C. § 441f and 18

U.S.C. § 2, Count Four charges corporate contributions in

violation of 2 U.S.C. § 441b and 18 U.S.C. § 2, Count Five

charges obstruction of justice in violation of 18 U.S.C. §§ 1519

and Two, and Counts Six and Seven charge causing false

statements in violation of 18 U.S.C. §§ 1001(a)(2) and 2 and are

directed solely towards Mr. Danielczyk.         Joint trial is set for

July 6, 2011.

           Defendants filed motions to dismiss a number of these

counts on April 6, 2011. [Dkt. 23 (“Biagi MTD”); Dkt. 28

(“Danielczyk MTD”).]     The Government filed a brief in opposition

on April 19, 2011 [Dkt. 37 (“Opp.”)], and Defendants filed

briefs in reply on April 25, 2011 [Dkt. 46 (“Danielczyk Reply”);


                                     2
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 3 of 52 PageID# 476



Dkt. 49 (“Biagi Reply”)].      Defendants’ motions are before the

Court.

                         II. Standard of Review

           Federal Rule of Criminal Procedure 12(b)(3)(B) permits

a defendant to move for dismissal pre-trial (or at any time

while the case is pending) if an indictment fails to state an

offense.   “[A]n indictment need merely contain a ‘plain,

concise, and definite written statement of the essential facts

constituting the offense charged.’”        United States v. Rendelman,

--- F.3d ----, No. 08–4486, 2011 WL 1335781, at *5 (4th Cir.

Apr. 8, 2011) (quoting Fed. R. Crim. P. 7(c)(1)).

           An indictment is legally sufficient if (i) it contains

the elements of the offense charged and informs the defendant of

the charges he must meet, and (ii) it identifies the offense

conduct with sufficient specificity to allow the defendant to

plead double jeopardy should there be a later prosecution based

on the same facts.     United States v. Jefferson, 562 F. Supp. 2d

687, 690 (E.D. Va. 2008) (citing Russell v. United States, 369

U.S. 749, 763-64 (1962)).      The first prong of this standard

tests the “legal sufficiency” of a charged offense, “namely

whether the facts alleged satisfy each of the requisite

statutory elements of a[n] . . . offense.”         Jefferson, 562 F.

Supp. 2d at 690.




                                     3
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 4 of 52 PageID# 477



           In testing the sufficiency of an indictment, the

indictment’s statement of facts controls the inquiry, not the

statutory citations for the underlying offenses.          United States

v. Hooker, 841 F.2d 1225, 1227 (4th Cir. 1988).          “[E]very

ingredient of crime must be charged in the bill, a general

reference to the provisions of the statute being insufficient.”

Id. at 1228 (quoting Hale v. United States, 89 F.2d 578, 579

(4th Cir. 1937)).     Generally, an indictment is sufficient if it

alleges an offense in the words of the statute, as long as the

words used in the indictment “‘fully, directly and expressly,

without any uncertainty or ambiguity, set forth all the elements

necessary to constitute the offence.’”         United States v.

Brandon, 298 F.3d 307, 310 (4th Cir. 2002) (quoting Hamling v.

United States, 418 U.S. 87, 117 (1974)).         Moreover, each count

of an indictment must itself be legally sufficient.           Hooker, 841

F.2d at 1230-31.    Thus, a missing element from a challenged

count cannot be borrowed from another count if it is not

incorporated by reference.      Id. at 1231.     Nonetheless, the

determination of an indictment’s validity is based on practical

not technical concerns.      United States v. Matzkin, 14 F.3d 1014,

1019 (4th Cir. 1994).

                              III. Analysis

           Defendants argue the following in favor of dismissal.

First, that Counts Two and Three cannot apply to their charged


                                     4
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 5 of 52 PageID# 478



conduct as a matter of statutory construction.          Second, that

Defendants could not have had the requisite mens rea for Counts

Two and Three, as well as Six and Seven.         Third, that the

statute underlying Count Four was rendered unconstitutional by

the Supreme Court’s recent decision in Citizens United v. FEC,

130 U.S. 876 (2010).     Fourth, that a bill of particulars is

required for Count Six.      And fifth, that the objects of the

conspiracy alleged in Count One that rely on Counts Two, Three,

and Four must be dismissed.

           The Court considers these arguments in turn.

           A.    Statutory Construction of § 441f (Counts Two &
                 Three)

           Counts Two and Three charge the Defendants with

violating 2 U.S.C. § 441f, which states in relevant part:

            No person shall make a contribution in the
            name of another person.

The mens rea for § 441f is stated in 2 U.S.C. § 437g(d)(1)(D),

and applies to

            [a]ny person who knowingly and willfully
            commits a violation of § 441f.

2 U.S.C. § 437g(d)(1)(D).      In addition, Counts Two and Three

involve 18 U.S.C. § 2(b), which states,

             Whoever willfully causes an act to be done
             which if directly performed by him or
             another would be an offense against the
             United States, is punishable as a
             principal.




                                     5
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 6 of 52 PageID# 479



              The Indictment alleges that, in connection with

fundraisers held on September 18, 2006, for the Senate Campaign

and March 27, 2007, for the Presidential Campaign, Mr.

Danielczyk “recruited individuals to make contributions” to

Clinton’s campaigns “and assured contributors that they would be

reimbursed for their contributions.”           Indict. ¶ 12.a.i.     Mr.

Danielczyk’s assistant allegedly “collected certain

contributions from the contributors,” which were “transmitted to

the authorized campaign committees.” Indict. ¶ 12.a.ii.

Defendants then allegedly caused Galen to “reimburse[ ] [the]

contributions.”       Indict. ¶ 12.a.iii.1

              Count Two alleges that Defendants “caused $30,200 in

contributions to the 2006 Senate [C]ampaign using” the names of

others and “caused the reimbursement of those contributions”

using money from Galen.         Indict. ¶ 13.a.     Count Three alleges

that Defendants “caused $156,400 in contributions to the 2008

Presidential [C]ampaign using” the names of others and “caused

the reimbursement of those contributions” using money from

Galen.      Indict. ¶ 13.b.

              Defendants argue that Counts Two and Three fail to

state a violation of 2 U.S.C. § 441f.           (Danielczyk MTD at 8.)


1
  The Court notes that paragraph 12 of the Indictment is set forth in Count
One of the Indictment. Indict. at pp. 4-6. Counts Two and Three of the
Indictment each incorporate the Indictment’s General Allegations and
incorporate Paragraphs 13(a) and 13(b), respectively, but do not incorporate
Count One. Indict. at pp. 13-14.


                                        6
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 7 of 52 PageID# 480



According to Defendants, “[r]eimbursing another for his or her

contribution is not the same thing as making a contribution in

the name of another.”        (Danielczyk MTD at 9 (emphasis removed).)

Section 441f, on Defendants’ read, “prohibits making a

contribution to a campaign by falsely using the name of another

person, such as by using an assumed name to make a

contribution,” but “[i]t does not prohibit reimbursing others

for contributions they made in their own names.”             Id.

              The Government counters that Defendants offer an

“unreasonably narrow reading of the text,” and that “[i]n fact,

the statutory text and the legislative history all make it plain

that a pass-thru scheme using straw donors to conceal the

identity of the actual donor, as alleged in the indictment, is

unambiguously criminalized by § 441f.”           (Opp. at 3 (internal

quotation marks and citation removed).)

              The issue before the Court, then, is whether § 441f2

proscribes only (1) a donor making a contribution to a campaign

but representing himself to the campaign as someone else, which

the Court will refer to as a “false-name contribution,” or

whether it proscribes also (2) a donor arranging for another

person to contribute funds to the campaign in that other



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  Counts Two and Counts Three charge violations § 441f together with 18 U.S.C.
§ 2(b) and 2 U.S.C. § 437g(d)(1)(D). The Court’s analysis in addressing §
441f reads it in context with 18 U.S.C. § 2(b) and 2 U.S.C. § 437g(d)(1)(D)
except where the Court addresses § 441f’s language standing alone.


                                        7
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 8 of 52 PageID# 481



person’s name with the agreement to reimburse that other person,

which the Court will refer to as a “pass-through contribution.”

              Defendants cite four reasons for limiting § 441f to

false-name contributions: (1) the statute’s text, (2) the

statute’s structure, (3) the need to avoid superfluity in

statutory construction, and (4) the rule of lenity and

constitutional concerns.         The Court considers each in turn.

                  i.      Statutory Text

              Defendants first argue that § 441f’s text does not

prohibit pass-through contributions.           (Danielczyk MTD at 11.)

In support, Defendants state that Congress addressed the issue

of making contributions “directly or indirectly,” and through

“intermediaries or conduits,” in other provisions of the Federal

Election Campaign Act of 1971 (“FECA”), 2 U.S.C. § 431, et seq.,

such as § 441a(a)(8) and § 441b(b)(2),3 but omitted that language

from § 441f.       Id.   Because the words “directly or indirectly”

and through “intermediaries or conduits” are not in § 441f,

Defendants argue, § 441f bans only false-name contributions, not

pass-through contributions.         (Danielczyk MTD at 12.)

              In interpreting a statute, courts begin with the text

of the provision at issue.         N.Y. State Conference v. Travelers


3
  2 U.S.C. § 441b(b)(2) provides that “[f]or purposes of this section . . .
the term ‘contribution or expenditure’ includes a contribution or
expenditure, as those terms are defined in section 431 . . . and also
includes any direct or indirect payment . . . to any candidate.” (emphasis
added).


                                        8
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 9 of 52 PageID# 482



Ins. Co., 514 U.S. 645, 655 (1995).        The “preeminent canon of

statutory interpretation requires [courts] to ‘presume that the

legislature says in a statute what it means and means in a

statute what it says there.’”       BedRoc Ltd., LLC v. United

States, 541 U.S. 176, 183 (2004) (quoting Conn. Nat’l Bank v.

Germain, 503 U.S. 249, 253-54 (1992)).        The Court is mindful

that “[i]n a statutory construction case, the beginning point

must be the language of the statute, and when a statute speaks

with clarity to an issue[,] judicial inquiry into the statute’s

meaning, in all but the most extraordinary circumstance, is

finished.”     Ramey v. Director, Office of Workers’ Comp. Program,

326 F.3d 474, 476 (4th Cir. 2003) (citing Estate of Cowart v.

Nicklos Drilling Co., 505 U.S. 469, 475 (1992)).          A court’s

“inquiry begins with the statutory text, and ends there as well

if the text is unambiguous.”       BedRoc Ltd., 541 U.S. at 183

(citing Lamie v. United States Trustee, 540 U.S. 526, 534

(2004)).

             To review, § 441f states in relevant part that “[n]o

person shall make a contribution in the name of another person.”

According to Defendants, the Court would have to “rewrite § 441f

to include terms that Congress deliberately excluded” for § 441f

to reach to the conduct charged here.        (Danielczyk MTD at 11-

12.)   The Court disagrees.




                                     9
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 10 of 52 PageID# 483



             As Defendants note, FECA is a comprehensive,

reticulated statute.     (Danielczyk MTD at 9.)      As such, it has a

comprehensive definitional section, 2 U.S.C. § 431.          “Person” is

defined to include “an individual, partnership, committee,

association, corporation, labor organization, or any other

organization or group of persons.”       2 U.S.C. § 431(11).

“Contribution” is defined as including “any gift, subscription,

loan, advance, or deposit of money or anything of value made by

any person for the purpose of influencing any election for

Federal office.”    2 U.S.C. § 431(8)(A)(i).       Defendants are

clearly “persons” and the donations to Clinton’s campaigns were

clearly “contributions.”     The issue, then, is what “make” and

“in the name of another” mean for purposes of § 441f.

             As written, § 441f plainly embraces Defendants’

charged conduct.    In § 441f, the action happens, literally, with

the verb “make.”    FECA, though comprehensive and reticulated,

does not define “make.”     “When a word is not defined by statute,

[courts] normally construe it in accord with its ordinary or

natural meaning.”     Smith v. United States, 508 U.S. 223, 228

(1993).   As for the ordinary or natural meaning of “make,” the

American Heritage Dictionary defines “make” as, among other

things, “[t]o cause to exist or happen; bring about; create.”

American Heritage Dictionary of the English Language 1085 (3d

ed. 1992).    Black’s Law Dictionary defines “make,” among other


                                    10
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 11 of 52 PageID# 484



things, as “[t]o cause (something) to exist.”         Black’s Law

Dictionary 975 (8th ed. 2004).      Thus, the inquiry is whether the

indictment charges Defendants with having “caused a contribution

to exist in the name of another person.”

             The Court finds that it does.     Defendants allegedly

recruited individuals to make contributions to Clinton’s

campaigns under agreements with those individuals that

Defendants would reimburse their donations.         Indict. §§ 11-12ai.

A common sense, logical reading of § 441f holds that this

conduct “made” contributions in the names of those individuals

because the conduct caused those contributions to exist or

happen.   Accord United States v. Boender, 691 F. Supp. 2d 833,

838-39 (N.D. Ill. 2010) (“In many areas of law and life, a

person can ‘make’ something happen though various forms of

action.”).    Because the contributions Defendants made, by

causing the contributions to happen, were not in Defendants’

names but in the names of the individuals they recruited, the

contributions were “in the name of another.”         Under Defendants’

reading, the only person who “makes” a contribution is the

person who transfers the contribution to the campaign.           That,

however, does not account for the person who caused that

contribution to exist or happen, who, under “ordinary or natural

meaning” also “made” the contribution.        Smith v. United States,




                                    11
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 12 of 52 PageID# 485



508 U.S. at 228.    The natural meaning of “make” renders § 441f

unambiguous.

           In common usage, one who causes something to happen or

brings it about, for instance by funding money, “made” it happen

just the same as the person who executed the action, for

instance by transferring that money.       As the Boender court

noted, “the law is no stranger to th[is] concept.          One of the

most obvious examples in criminal law relates to the law of

murder, which attaches liability where a person causes the death

of another even without physically delivering the deathblow.”

691 F. Supp. 2d at 838-39.      Indeed, this Court is not the first

to apply this reading of § 441f to the conduct charged here.

See, e.g., United States v. O’Donnell, 608 F.3d 546 (9th Cir.

2010) (“O’Donnell II”); Boender, 691 F. Supp. 2d 833; United

States v. Hsu, 643 F. Supp. 2d 574, 576 (S.D.N.Y. 2009)

(upholding sufficiency of evidence for a conviction under § 441f

where witnesses testified that, at defendant’s request, they

made contributions to political campaigns that were

contemporaneously or subsequently reimbursed by the defendant);

but see United States v. O’Donnell, No. CR 08-00872 (C.D. Cal.

June 8, 2009) (O’Donnell I) (finding that § 441f does not




                                    12
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 13 of 52 PageID# 486



prohibit soliciting and reimbursing contributions), overruled by

O’Donnell II.4

               Defendants argue that because § 441f does not include

the term “indirectly,” the Court cannot disregard that

Defendants’ alleged reimbursing transaction was separate from

the recruited-individuals’ donation transaction.              (Danielczyk

MTD at 13-14.)        But the common meaning of “make” permits the

Court to consider Defendants’ alleged role within the totality

of the transaction.        Because “make” means “[t]o cause to exist

or happen; bring about; create,” American Heritage, supra, at

1085, it is not necessary to “merge” the two transactions to

bring Defendants’ conduct within § 441f.            “To cause to exist or

happen; bring about; create,” id., is broad enough to encompass

a number of means, including “indirect” or “conduit” means.                 As

the Ninth Circuit stated:

               to identify the individual who has made the
               contribution, we must look past the
               intermediary’s essentially ministerial role to
               the substance of the transaction. Accordingly,
               the statutory language applies when a defendant’s
               funds go to a campaign either directly from him
               or through an intermediary. In either case, for
               purposes of § 441f, the defendant has made that
               contribution--and he has violated the statute if
               his own name was not provided as the source.

O’Donnell, 608 F.3d at 550.          Though the Court does not find it

necessary to “look past the intermediary’s essentially


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  O’Donnell I is the only case cited by Defendants or found by this Court
interpreting § 441f as not applying to the conduct charged here.


                                        13
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 14 of 52 PageID# 487



ministerial role to the substance of the transaction,” id., for

Defendants’ charged conduct to come within § 441f, because of

the breadth of the term “make,” doing so would be proper here.

Nonetheless, though O’Donnell II is not controlling in this

Court, the Court agrees with its reasoning.         Ultimately, the

person who “makes” something is the person who caused it to

exist or happen, brought it about, or created it.          Thus,

Defendants’ charged conduct fits squarely within § 441f.

           Defendants would have the absence of “directly or

indirectly” and “intermediary or conduit,” contained §

441a(a)(8) and other FECA provisions but not § 441f, decide the

issue.   According to Defendants, § 441f would have to read to

the effect of “no person shall make, directly or indirectly, a

contribution in the name of another person” or “no person shall

make a contribution, including one directed through an

intermediary or conduit, in the name of another person.”

Although these versions may be clearer in Defendant’s view, the

issue is not whether Congress could have better drafted § 441f,

but whether § 441f as written embraces Defendants’ charged

conduct here.   See Pavelic & LeFlore v. Marvel Entm’t Group, 493

U.S. 120, 126 (1989) (stating that a court’s “task is to apply

the text, not to improve upon it”).       And, given the meaning of

the word “make,” the words “directly or indirectly” and




                                    14
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 15 of 52 PageID# 488



“intermediary or conduit” are unnecessary for § 441f to capture

the conduct charged here.

           Though Defendants contend the Government (and this

Court) would “rewrite § 441f to include terms that Congress

deliberately excluded,” (Danielczyk MTD at 11-12), it is

actually Defendants’ interpretation of the statute that would

force a rewrite.    “Make” means “to cause to exist or happen;

bring about; create,” such that the person who brought something

about or caused something to happen “made” that thing.           To read

§ 441f as Defendants suggest would limit the common meaning of

“make.”   The statute would have to read to the effect of “no

person shall make, by transferring the contribution directly

from herself to the contributee, a contribution in the name of

another person,” or “no person shall execute a contribution in

the name of another person.”      That, however, is not what § 441f

says.   A statute “says . . . what it means and means . . . what

it says,” Germain, 503 U.S. at 253-54, and § 441f says “make,”

unqualified.

           Under the ordinary or natural meaning of “make,”

Defendants allegedly caused the contributions to exist or happen

just the same as if they had turned over the donations to the

campaigns themselves.     Accordingly, the charged conduct falls

within the text of § 441f.




                                    15
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 16 of 52 PageID# 489



                 ii.      Statutory Structure

               Defendants also argue that FECA’s structure precludes

reading § 441f as proscribing pass-through contributions, as

alleged here.       (Danielczyk MTD at 9-11.)       According to

Defendants, reading § 441f in this manner expands the scope of §

441f “beyond its text in an effort to reach conduct that FECA

expressly regulates elsewhere.”           (Danielczyk MTD at 10.)

Specifically, Defendants argue that FECA regulates pass-through

contributions in 2 U.S.C. § 441a(a)(8), and because pass-through

contributions are regulated in § 441a(a)(8), they are not

proscribed by § 441f.         Id.   § 441a(a)(8) states:

               For purposes of the limitations imposed by this
               section, all contributions made by a person,
               either directly or indirectly, on behalf of a
               particular candidate, including contributions
               which are in any way earmarked or otherwise
               directed through an intermediary or conduit to
               such candidate, shall be treated as contributions
               from such person to such candidate.

The subsection § 441a(a) is titled5 “[d]ollar limits on

contributions.”        Section § 411a itself is entitled

“[l]imitations on contributions and expenditures.”

               The Court disagrees that, as a matter of FECA’s

structure, the existence of § 441a(a)(8) forecloses reading §



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  A heading or title of a statute cannot substitute for the operative text of
that statute, so the Court looks to these titles only as informative. See
Fla. Dep’t of Revenue v. Piccadilly Cafeterias, Inc., 554 U.S. 33, 47 (2008)
(“We find it informative that Congress placed § 1146(a) in a subchapter
entitled, “POSTCONFIRMATION MATTERS.”).


                                        16
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 17 of 52 PageID# 490



441f as prohibiting pass-through contributions, given that §

441f’s plain text dictates the reading set forth above.           See

BedRoc Ltd., 541 U.S. at 183 (stating that a court’s “inquiry

begins with the statutory text, and ends there as well if the

text is unambiguous”).     Nonetheless, the Court agrees with

Defendants that statues should be construed to “fit, if

possible, all parts into an harmonious whole,” FTC v. Mandel

Brothers, Inc., 359 U.S. 385, 389 (1959), but sees this guidance

as counseling an opposite result.

           Sections 441a(a)(8) and 441f serve different functions

in FECA and do different work.      Section 441a(a)(8) dictates how

much one can “contribute” and against whose contribution limits

a “contribution” is counted.      Section 441f dictates whether one

can “contribute” in a particular manner.        Indeed, whether one is

“contributing” at all, for purposes of FECA, is governed by §

431(8)(A)(i), which defines the term “contribution” (yet another

provision with a different function).        Reading these provisions

in harmony as a whole, one sets forth whether there is a

“contribution” (§ 431(8)(A)(i)), the next sets forth against

whose account that “contribution” is credited (§ 441a(a)(8)),

and the next sets forth whether one can even make a particular

type of “contribution” at all (§ 441f).        That is not to say that

§ 441f’s role in FECA, in prohibiting a certain kind of

“contribution,” in itself provides that Defendants’ charged


                                    17
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 18 of 52 PageID# 491



conduct is that kind of prohibited conduct.         § 441f’s text does

that.   This is only to say that “fit[ting] . . [these] parts [of

FECA] into an harmonious whole,” Mandel Brothers, 359 U.S. at

389, the structure of FECA does not foreclose the textual

reading of § 441f set forth above.

           In support of their structural argument, Defendants

contend that reading § 441f as prohibiting the charged conduct

here “conflat[es]” § 441f and § 441a, and “categorically ban[s]

innocent conduct that Congress intended to allow.”          (Danielczyk

MTD at 11.)     Defendants propose a hypothetical to illustrate

that Congress addressed false-name contributions and pass-

through contributions separately and differently.          (Danielczyk

MTD at 10.)     Suppose, say Defendants, a proud parent of a

politically active college student reimbursed that student for

her purchase of a ticket to a political fundraiser out of the

belief that the daughter could not afford to attend.          Id.

According to Defendants, the parent’s conduct in this scenario

is not barred by § 441f, even though the money donated by the

daughter to the campaign came not from the daughter, but from

the parent.     (Danielczyk MTD at 11.)    Defendants argue that,

instead of § 441f, that scenario is regulated by § 441a, which

guards against any abuse in such a scenario by counting the

daughter’s donation against the parent’s § 441a contribution

limits.   Id.


                                    18
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 19 of 52 PageID# 492



            That is not the conduct Defendants are charged with

here.    Using Defendants’ hypothetical and inserting the facts

here, the scenario would be one where a proud parent of a

politically active college student called his daughter and, to

conceal the amount and the source of his contribution, recruited

her to make a donation to a political campaign with the

assurance that he would repay her for the donation.          Indict. §§

11-12ai.    Under the Court’s and the Government’s reading of §

441f, that conduct would fall within § 441f.         Significantly, for

the parent’s conduct to be a criminal violation of § 441f, the

parents would not only have to engage in the proscribed conduct,

but do so with the requisite mens rea, which the Court addresses

below.

            The Supreme Court, in dicta, has addressed this very

scenario.   In McConnell v. FEC, 540 U.S. 93 (2003), the Court

held that a provision of FECA prohibiting minors from making

political contributions violated the First Amendment.          Id. at

231.    The Government, in arguing its position that the

prohibition on minor’s contributions did not violate the First

Amendment, “assert[ed] that the provision protects against

corruption by conduit; that is, donations by parents through

their minor children to circumvent contribution limits

applicable to the parents.”      Id. at 232 (emphasis added).       The

Court concluded that “the Government offer[ed] scant evidence of


                                    19
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 20 of 52 PageID# 493



this form of evasion,” reasoning that “[p]erhaps the

Government’s slim evidence results from sufficient deterrence of

such activities by § 320 of FECA, which prohibits any person

from ‘mak[ing] a contribution in the name of another person,’ 2

U.S.C. § 441f.”        Id. (emphasis added).      The Court plainly

contemplated that § 441f applied to Defendants’ hypothetical, if

the parent intended to circumvent his contribution limits via

his daughter.6

               As is clear from this Court’s discussion of mens rea

below, Defendants’ proud-parent hypothetical would only

implicate § 441f where the parent’s purpose was to circumvent

his contribution limits through his daughter.             That is § 441f’s

function in the structure of FECA.           Section 431(8)(A)(i)

determines whether there is a “contribution,” § 441a(a)(8)

determines against whose account that “contribution” is

credited, and § 441f determines whether one can even make a

particular type of “contribution” at all.            Defendants argue that

§ 441a guards against any abuse by the hypothetical proud parent

by counting the daughter’s donation against the parent’s § 441a

contribution limits.         (Danielczyk MTD at 11.)      Section 441a

certainly guards against that abuse, but § 441f does something

else--it determines whether a certain type of contribution can


6
  As discussed more fully below, this does not read an additional element into
§ 441f, but only illustrates an example of facts upon which the requisite
mens rea could be found.


                                        20
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 21 of 52 PageID# 494



be made at all, regardless of whether the amount complies with §

441a.    In other words, even if the proud parent donated $10.00

through his daughter, it could implicate § 441f (but not § 441a)

if he did so with the requisite mens rea.

             iii.     Superfluity

            Defendants next argue that reading § 441f as banning

pass-through contributions renders the “entire provision of

FECA--1 U.S.C. § 441a(a)(8) superfluous.”        (Danielczyk MTD at

12.)    This refers to the canon “against interpreting any

statutory provision in a manner that would render another

provision superfluous.”     Bilski v. Kappos, 130 S. Ct. 3218, 3228

(2010) (internal citations omitted).

            Because, as set forth above, the plain text of § 441f

says what it says, any overlap in the Court’s reading of § 441f

with § 441a(a)(8) may lead to some superfluity, but does not, in

light of the Court’s review of § 441f’s plain text, counsel

against this reading.     Although avoiding superfluity is “a

cardinal principle” of statutory construction, TRW Inc. v.

Andrews, 534 U.S. 19, 31 (2001), the “preeminent canon” of

statutory interpretation is that “the legislature says in a

statute what it means and means in a statute what it says

there.”    BedRoc Ltd., 541 U.S. at 183 (emphasis added, internal

quotation marks and citation omitted).        Moreover, “[g]iven

fundamental difference in purpose [between § 441f and §


                                    21
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 22 of 52 PageID# 495



441a(a)(8)], evident from the text of the provisions as well as

the context in which they were passed, the overlap is less

troublesome than it would be if the two provisions purported to

address the same matter.”      O’Donnell, 608 F.3d at 554-55.

Because the preeminent canon of statutory construction leads the

Court to read § 441f as above, and given the different functions

of § 441f and § 441a(a)(8) within FECA and the fact that § 441f

reaches conduct that 441a(a)(8) does not, the partial overlap

and resulting superfluity between the two does not, in itself,

foreclose the Court’s reading of § 441f.

             iv.      The Rule of Lenity, the First Amendment, and
                      Due Process

           Defendants next argue that the rule of lenity, the

First Amendment, and due process concerns compel dismissal of

Counts Two and Three.     (Danielczyk MTD at 22.)       The rule of

lenity “leads [courts] to favor a more lenient interpretation of

a criminal statute ‘when, after consulting traditional canons of

statutory construction, we are left with an ambiguous statute.’”

Kasten v. Saint-Gobain Performance Plastics Corp., 131 S. Ct.

1325, 1336 (2011) (quoting United States v. Shabani, 513 U.S.

10, 17 (1994)).    For the reasons set forth above, after

consulting traditional canons of statutory construction, id., §

441f unambiguously prohibits the conduct alleged here.

Moreover, to the extent the statute is ambiguous, that ambiguity




                                    22
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 23 of 52 PageID# 496



is not sufficiently grievous to warrant the rule of lenity.            See

Dolan v. United States, 130 S. Ct. 2533, 2544 (2010) (“[A]fter

considering the statute’s text, structure, and purpose, we

nonetheless cannot find a statutory ambiguity sufficiently

‘grievous’ to warrant [the rule of lenity’s] application in this

case.”).

           Defendants argue for an alternative construction of §

441f’s text.   Even granting this alternative construction,

however, “‘[i]t is not the case . . . that a provision is

‘ambiguous’ for purposes of lenity merely because it [is]

possible to articulate a construction more narrow than that

urged by the Government.”      United States v. Ehsan, 163 F.3d 855,

857-58 (4th Cir. 1998) (quoting Moskal v. United States, 498

U.S. 103, 108 (1990) (internal quotation marks omitted)).

Accordingly, because § 441f “unambiguously include[s]” the

charged conduct, the rule of lenity does not dictate dismissal

here.   See United States v. Groce, 398 F.3d 679, 681-82 (4th

Cir. 2005) (finding that because the statutory term “d[id] not

unambiguously include the situation at issue, rule of lenity did

not require a sentence enhancement) (emphasis removed); see also

O’Donnell II, 608 F.3d at 555; Boender, 691 F.Supp.3d at 842.

           Defendants next argue that the void-for-vagueness

doctrine compels dismissal.      (Danielczyk MTD at 23.)      “As

generally stated, the void-for-vagueness doctrine requires that


                                    23
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 24 of 52 PageID# 497



a penal statute define the criminal offense with sufficient

definiteness that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.”      Kolender v. Lawson, 461 U.S. 352,

357 (1983) (citing Vill. of Hoffman Estates v. Flipside, 455

U.S. 489 (1982)).    Again, § 441f defines the offense

unambiguously and in plain terms, such that ordinary people can

understand what is prohibited conduct.

           Defendants argue that “Congress cannot, consistent

with the First Amendment, turn political activities like

otherwise permissible campaign contributions into an uncharted

minefield of criminal liability.”        (Danielczyk MTD at 23.)

Whatever makes the alleged contributions here “otherwise

permissible,” the Supreme Court has held that, to combat

corruption and there appearance thereof, Congress can make

campaign contributions exceeding certain limits impermissible.

Buckley v. Valeo, 424 U.S. 1 (1976).        In approving such limits,

the Court no doubt also approved of Congress’s right to sanction

those who intentionally try to evade its limits.          To the extent

such sanctions create a minefield, § 441f’s mens rea requirement

ensures that only those who intend to behave unlawfully find




                                    24
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 25 of 52 PageID# 498



themselves in it.        Accordingly, due process and First Amendment

principles are not implicated by the Court’s reading of § 441f.7

               B.   Mens Rea (Counts Two, Three, Six, and Seven)

               Defendants next argue that Counts Two and Three (as

well as Six and Seven) must be dismissed because the statutes

involved are so ambiguous that they could not be “knowingly and

willfully” violated.         The Government responds that the statutes’

meanings are clear, “not vague or debatable,” and this Court has

found the same with respect to Counts Two and Three.              (Opp. at

27.)      Both these arguments take as a given, though, Defendants’

claim that, to fulfill the requisite mens rea for these counts,

Defendants “must have been specifically aware of the law[s’]

commands and have intended to violate them,” (Danielczyk MTD at

16).      This seems an odd premise to take at face-value, given the

common maxim, “familiar to all minds, that ignorance of the law


7
 Count Six charges Mr. Danielczyk with causing the candidate’s campaign to
submit a report to the FEC “that was materially false in reporting the source
and amount of contributions to the campaign by a corporation” in violation of
18 U.S.C. § 1001(a)(2). Indict. 28. Defendants argue that to the extent the
Government’s theory as to the falsity of the statement is that Mr. Danielczyk
or Galen “made contributions in the name of another, and that the
contributions were falsely reported to the FEC in the name of another, that
fails for the same reasons as the § 441f counts,” i.e., Counts Two and Three,
because the individual contributors are the people who “made” the
contributions to the campaign, not Mr. Danielczyk. (Mot. at 27.) This
argument fails for the same reasons set forth above with respect to Counts
Two and Three. Mr. Danielczyk allegedly “made” the contributions just the
same as the persons who transferred money to the campaign. As the Government
stated, “[i]n this case, the [Clinton] campaign filed the required quarterly
finance report with the FEC in April 2007 which falsely included the names of
the conduit contributors as the actual sources of the funds to the Clinton
presidential campaign.” (Opp. at 38.) Mr. Danielczyk allegedly “made” these
contributions in the name of another, and by doing so allegedly caused the
candidate’s campaign to submit a materially false report to the FEC.


                                        25
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 26 of 52 PageID# 499



will not excuse any person, either civilly or criminally.”

Barlow v. United States, 7 Pet. 404, 411 (1833); see also Jerman

v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 130 S. Ct.

1605, 1611 (2010) (quoting Barlow).       This Court will therefore

address the surprisingly thorny question of what mens rea

applies for these counts.

           Counts Two and Three, again, charge the Defendants

with violating 2 U.S.C. § 441f, which states in relevant part:

            No person shall make a contribution in the
            name of another person.

The mens rea requirement for § 441f is again stated in 2 U.S.C.

§ 437g(d)(1)(A)(i), and applies to

            [a]ny person who knowingly and willfully
            commits a violation of any provision of
            this Act.

437g(d)(1)(A)(i) (emphasis added).       In addition, Counts Two and

Three involve 18 U.S.C. § 2(b), which states,

            Whoever willfully causes an act to be done
            which if directly performed by him or
            another would be an offense against the
            United States, is punishable as a
            principal.

           Counts Six and Seven very similarly also involve §

2(b) as well as 18 U.S.C. § 1001(a)(2), which applies, in

relevant part, to:

            [W]hoever, in any matter within the
            jurisdiction of the executive, legislative,
            or judicial branch of the Government of the
            United States, knowingly and willfully . .


                                    26
    Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 27 of 52 PageID# 500



                . makes any false, fictitious, or
                fraudulent statement or representation.

Thus, Counts Two, Three, Six, and Seven involve mens rea

standards of acting “knowingly” and “willfully.”

               All agree that “knowingly” is a “general intent” mens

rea standard requiring “knowledge of the facts that constitute

the offense.”       Dixon v. United States, 548 U.S. 1, 5 (2006)

(citing Bryan v. United States, 524 U.S. 184, 191 (1998));

United States v. George, 386 F.3d 383, 389 n.6 (2d Cir. 2004)

(“In contrast [to ‘willingly’], the criminal statutory term

‘knowingly’ has attained a largely settled interpretation.”).

               The meaning of “willfully,” however, “has long

bedeviled American courts.”          George, 386 F.3d at 389.      Indeed,

“[t]he word ‘willfully’ is sometimes said to be ‘a word of many

meanings’ whose construction is often dependent on the context

in which it appears.”         Bryan, 524 U.S. at 191.      This “chameleon

word”8 seems describe three levels of intent, as then-Judge

Sotomayor observed in United States v. George.9




8
  United States v. Starnes, 583 F.3d 196, 210 (3d Cir. 2009) (citations
omitted).
9
  See also United States v. Kay, 513 F.3d 432, 447 (5th Cir. 2007) (“The
definition of ‘willful’ in the criminal context remains unclear despite
numerous opinions addressing this issue. Three levels of interpretation have
arisen that help to clear up the haze.”). Kay went on to explain that the
lowest level merely required that the defendant act intentionally, the
intermediate level required knowledge of general unlawfulness (citing Bryan),
and the highest level required specific knowledge of the terms of the statute
being violated. Id. at 447-48.


                                        27
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 28 of 52 PageID# 501



              i.      The Highest Level of Intent: Ratzlaf and
                      Cheek

           In select, rare instances, willfulness requires a

finding that the defendant actually knew that he was violating a

particular statute.    For instance, Ratzlaf v. United States, 510

U.S. 135 (1994), involved the crime of “structuring” cash

deposits to evade federal deposit reporting requirements.           The

Court observed that breaking single transactions into two or

more segments of less than $10,000 is not intuitively nefarious

and held that a defendant could only be liable where he actually

knew of the anti-structuring law he was breaking.          Id. at 144-

46.   Likewise, in Cheek v. United States, 498 U.S. 192 (1991),

the Court noted that because the tax laws are so overwhelmingly

complex, “Congress . . . softened the impact of the common law

presumption [that ignorance of the law is no excuse] by making

specific intent to violate the law an element of certain federal

criminal tax offenses.”     Id. at 199-200.     Like Ratzlaf, the

Court held that in criminal tax cases, willfulness could only be

found where the law imposed a duty, “the defendant knew of this

duty, and . . . he voluntarily and intentionally violated [it].”

Id. at 201.

           Thus, Ratzlaf and Cheek stand for the proposition

that, in circumstances “where the obscurity or complexity” of a

criminal statute “may prevent individuals from realizing that



                                    28
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 29 of 52 PageID# 502



seemingly innocent acts are, in fact, criminal,” willfulness

requires the defendant to have known that he was violating a

specific law.      George, 386 F.3d at 390.

             ii.         The Intermediate Level of Intent: Bryan

           The second category of willfulness was most

prominently articulated in Bryan v. United States, 524 U.S. 184

(1998).   There, the petitioner faced charges under 18 U.S.C. §

922(a)(1)(A), which forbids trading in or transporting firearms

in interstate commerce without the appropriate license.           The

petitioner argued that the Ratzlaf/Cheek standard for

willfulness applied, such that his guilt would depend on his

awareness of the federal licensing requirement when he violated

it.   524 U.S. at 189-90.    The Court declined to extend Ratzlaf

and Cheek, distinguishing them as “involv[ing] highly technical

statutes that presented the danger of ensnaring individuals

engaged in apparently innocent conduct.”        Id. at 194.    The Court

instead held that “the willfulness requirement of § 924(a)(1)(D)

does not carve out an exception to the traditional rule that

ignorance of the law is no excuse; knowledge that the conduct is

unlawful is all that is required.”       Id. at 196.

           Many courts, including the Supreme Court and the

Fourth Circuit, have since repeated this language with the

intimation that it represents the general standard for

willfulness in criminal law.      For instance, in Safeco Ins. Co.


                                    29
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 30 of 52 PageID# 503



v. Burr, 551 U.S. 47 (2007), the Supreme Court cited Ratzlaf,

Bryan, and Cheek for the proposition that, “when the term

‘willful’ or ‘willfully’ has been used in a criminal statute [as

opposed to a civil one], we have regularly read the modifier as

limiting liability to knowing violations.”         Id. at 58 n.9.    It

further cited Bryan (and no other cases) in stating, “[t]hus, we

have consistently held that a defendant cannot harbor such

criminal intent unless he ‘acted with knowledge that his conduct

was unlawful.’”     Id. (quoting Bryan, 524 U.S. at 193).

           The Fourth Circuit used similar language in United

States v. Bursey.     416 F.3d 301, 308-09 (4th Cir. 2005).        There,

the defendant was convicted of “willfully and knowingly”

entering and remaining in a restricted area during a visit by

the President.    Id. at 303.    The defendant argued that he could

not have possessed the requisite mens rea because, although he

was advised that he was in a restricted area and required to

leave he was never told that the area was a “federally

restricted zone, so designated by the secret service.”           Id. at

308.   He argued, in other words, for the rule from Cheek and

Ratzlaf (that he had to be aware of the law he was violating).

What he got instead was Bryan; the Court again repeated the

language that “for a defendant to have acted willfully, he must

merely have ‘acted with knowledge that his conduct was

unlawful.’”   Id. at 308-09 (citing Bryan).


                                    30
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 31 of 52 PageID# 504



            Bursey is typical of cases applying Bryan, in that it

seems to treat Bryan as the alternative to Ratzlaf and Cheek,10

when in fact Bryan is an alternative, and an atypical one at

that.11   Indeed, then-Judge Sotomayor wrote in George that the

significance of Cheek, Ratzlaf, and Bryan, “lies in their

atypicality.”     386 F.3d at 392.     As outlined below, her opinion

explains at length that the baseline for criminal willfulness

remains simple intentionality, that ignorance of the law is

still (usually) no excuse, and that the standard is heightened

solely for conduct that is wrongful only because a statue makes

it so.

             iii.       The Baseline Level of Intent: the Standard
                        Case

            As noted in George, Judge Learned Hand explained

nearly a century ago that the term “willful” “means no more than

that the person charged with the duty knows what he is doing.

It does not mean that, in addition, he must suppose that he is




10
   See, e.g., United States v. Roth, 628 F.3d 827, 833-35 (6th Cir. 2011)
(citing Bryan and invoking its standard in finding that the defendant did not
need to know that particular items being exported are specifically listed on
a “munitions list” prohibiting their export); United States v. Mousavi, 604
F.3d 1084, 1092-94 (9th Cir. 2010) (same, with respect to alleged violations
of the International Economic Emergency Powers Act); United States v. Bell,
598 F.3d 366, 370-71 (7th Cir. 2010) (same, with respect to violations of the
Deadbeat Parents Punishment Act of 1998); United States v. Starnes, 583 F.3d
196, 211-12 (3d. Cir. 2009) (same, with respect to violations of §§ 2(b) and
1001 (the same statutes at issue in Counts Six and Seven in this case)).
11
   Tellingly, this Court has not located a single case where Bryan was applied
to a defendant’s benefit, i.e., where a defendant was able to obtain a
favorable ruling from invoking Bryan as requiring a heightened mens rea above
the baseline.


                                      31
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 32 of 52 PageID# 505



breaking the law.”12     Id. at 393 (citing American Surety Co. of

New York v. Sullivan, 7 F.2d 605, 606 (2d Cir. 1925)).

Recognizing that “Bryan’s discussion of the content of the mens

rea term ‘willfully’ in the challenged statute [was] not

accompanied by a discussion of the basis for this definition,”

then-Judge Sotomayor cited a litany of Supreme Court cases in

explaining that, in fact, Ratzlaf, Cheek, and Bryan merely

reflect the Supreme Court’s concern that “the obscurity or

complexity of [a] particular criminal statute may prevent

individuals from realizing that seemingly innocent acts are, in

fact, criminal.”     Id. at 392 (citing Carter v. United States,

530 U.S. 255, 269 (2000) (“The presumption in favor of scienter

requires a court to read into a statute only that mens rea which

is necessary to separate wrongful conduct from otherwise

innocent conduct.”) (internal quotation marks omitted); United

States v. X-Citement Video, Inc., 513 U.S. 64, 71-73 (1994)

(child pornography conviction required proof of knowledge that

children depicted were minors); Staples v. United States, 511

U.S. 600, 619–20 (1994) (conviction for possession of

unregistered machine gun required knowledge of the features of

12
  Judge Hand also remarked to Herbert Wechsler, then the Reporter for the
Model Penal Code, that “[willfully] is a very dreadful word.... It's an awful
word! It is one of the most troublesome words in a statute that I know. If I
were to have the index purged, ‘willful’ would lead all the rest in spite of
its being at the end of the alphabet.” United States v. Hayden, 64 F.3d 126,
129 n.5 (3d Cir. 1995) (quoting ALI Proceedings 160 (1955), quoted in Model
Penal Code and Commentaries § 2.02, at 249 n.47 (Official Draft and Revised
Comments 1985)) (internal quotation marks omitted).


                                     32
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 33 of 52 PageID# 506



the gun that brought it within the scope of the statute);

Liparota v. United States, 471 U.S. 419, 426 (1985) (conviction

for unauthorized use of food stamps requires knowledge that use

of food stamps was illegal, because absent that requirement, the

statute would “criminalize a broad range of apparently innocent

conduct”)).

           Thus, “knowledge of general unlawfulness is

unnecessary under statutes criminalizing conduct whose

wrongfulness is obvious from the surrounding context.”           United

States v. Kelly, 368 F. App’x 194, 198 (2d Cir. 2010).           Indeed

such knowledge is unnecessary where the behavior proscribed is

wrongful in and of itself, because in such instances, the

defendant is on notice that, in intentionally engaging in that

behavior, he or she probably broke the law.         George, 386 F.3d at

395.   Only conduct that is wrongful solely because it is

proscribed by statute and that seemingly could be innocent

warrants Bryan’s heightened mens rea protection, and even then,

only those laws that are abnormally technical or obscure, such

as the tax code, warrant Cheek and Ratzlaf’s strictest mens rea.

              iv.     The Requisite Mens Rea in this Case

           Here, Defendants argue they cannot have met the mens

rea for Counts Two, Three, Six, and Seven because the statutes

at issue were subject to multiple reasonable interpretations,

such that they could not be “knowingly and willfully” violated.


                                    33
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 34 of 52 PageID# 507



(Danielczyk MTD at 16.)     Putting aside this Court’s having found

those statutes to be unambiguous, Defendants’ argument depends

upon this Court adopting a Cheek/Ratzlaf view of mens rea for

the statutes charged in this case, because only under Cheek and

Ratzlaf would Defendants’ have needed to be “specifically aware

of the law’s commands and [to] have intended to violate them.”

Id.   This Court will not adopt that view.

           Beginning with Counts Two and Three, compared with

antistructuring or tax laws, as in Ratzlaf or Cheek, individual

campaign contribution laws are more intuitive and less complex.

As the Supreme Court explained Ratzlaf, “currency structuring is

not inevitably nefarious. . . .       Nor is a person who structures

a currency transaction invariably motivated by a desire to keep

the Government in the dark.”      510 U.S. at 144-45.      Likewise in

Cheek, the Court explained

            The proliferation of statutes and
            regulations has sometimes made it difficult
            for the average citizen to know and
            comprehend the extent of the duties and
            obligations imposed by the tax laws.
            Congress has accordingly softened the
            impact of the common-law presumption by
            making specific intent to violate the law
            an element of certain federal criminal tax
            offenses. Thus, the Court almost 60 years
            ago interpreted the statutory term
            “willfully” as used in the federal criminal
            tax statutes as carving out an exception to
            the traditional rule. This special
            treatment of criminal tax offenses is
            largely due to the complexity of the tax
            laws.


                                    34
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 35 of 52 PageID# 508




498 U.S. at 199-200 (emphasis added).        That distinguishes the

tax cases Defendants present in support of their mens rea

claims, all of which are, in essence, predecessors to Cheek.

             In United States v. Critzer, the Court reversed a

conviction for willful tax evasion where the law under which the

Defendant was charged was “so uncertain that even co-ordinate

branches of the United States government plausibly reach

directly opposing conclusions.”       498 F.2d 1160, 1162 (4th Cir.

1974).   The Court noted that, “[e]ven if [the defendant] had

consulted the law and sought to guide herself accordingly, she

could have had no certainty as to what the law required.”           Id.

As a result, “the element of willfulness could not be proven” in

that case.     Id. at 1163.   United States v. Mallas, 762 F.2d 361

(4th Cir. 1985), and United States v. Pomponio, 429 U.S. 10

(1976), likewise involved vague and highly-debatable theories of

tax law.     Pomponio, cited by Defendants along with Ratzlaf,

explicitly limited its analysis to the tax laws at issue in that

case.    429 U.S. at 12 (“The Court, in fact, has recognized that

the word ‘willfully’ in these statutes generally connotes a

voluntary, intentional violation of a known legal duty.”)

(emphasis added).




                                    35
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 36 of 52 PageID# 509



            Many areas of federal law are “complex,” including

laws governing campaign contributions.13        In this Court’s view,

however, such laws are not at the level of the tax code in their

likelihood of ensnaring innocent conduct through sheer

bewilderment.    Campaign contributions laws are not so complex or

surprising that the average citizen would likely be trapped by

them.   Thus, this Court will not extend Ratzlaf and Cheek’s

highest mens rea standard to the field of election law and will

not dismiss Counts Two and Three for inability to prove mens

rea.

            As for Bryan’s intermediate standard, as explained in

George, the critical question is whether the law in question

risks capturing otherwise seemingly innocent conduct.            If, as in

George, there is no conceivably meritorious justification for

the alleged actus reus, then Bryan’s concern for capturing

seemingly innocent conduct is not implicated.          386 F.3d at 395.

Here, however, it appears that seemingly innocent conduct could

be captured by § 441f.      Returning to the proud-parent

hypothetical, the parent reimbursing his daughter’s fundraiser

ticket is not intuitively “bad,” yet his actions would meet the



13
  See Steve Simpson & Paul Sherman, Op-Ed., Stephen Colbert’s Free Speech
Problem, Wall St. J., May 19, 2011, at A15 (quoting Stephen Colbert
lamenting on the difficulty of forming a political action committee, “Why
does it get so complicated to do this. I mean, this is page after page of
legalese . . . . All I’m trying to do is affect the 2012 Election. It’s not
like I’m trying to install iTunes”).


                                     36
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 37 of 52 PageID# 510



actus reus for § 441f.     Because § 441f could capture seemingly

innocent conduct, it calls for Bryan’s heightened mens rea.

           Thus, for Counts Two and Three, the Government must

prove that Defendants intended to violate the law (whatever the

law was); but it need not prove Defendants’ awareness of the

specific law’s commands.     See Bryan, 524 U.S. at 196.       Because

Defendants could have intended to act unlawfully while being

unaware of exactly what the law required, this Court disagrees

with Defendants’ argument that Counts Two and Three require

dismissal due to ambiguity.

           As for Counts Six and Seven, a split appears to exist

between the Third and D.C. Circuits as to the requisite mens rea

for Sections 2(b) and 1001 combined.

           The Third Circuit applied Ratzlaf to a criminal charge

linking Sections 2(b) and 1001 in United States v. Curran, 20

F.3d 560 (3d Cir. 1994).     The Defendant in Curran asked a number

of his employees to write personal checks to several campaigns

for federal office, then reimbursed them in cash.          Id. at 562-

63.   Considering the proper charge for “willfulness” under the

statutes at issue--then an issue of first impression, see id. at

568--the Court found three similarities between the statutes

discussed in Ratzlaf and those charged in that case:

            (1) The disclosure obligations imposed by
            the Election Campaign Act correspond with
            those dictated by the currency reporting


                                    37
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 38 of 52 PageID# 511



              statute. This similarity involves the
              defendant’s knowledge of a third party’s
              duty to disclose information to a
              government agency.

              (2) The underlying conduct is not
              “obviously ‘evil’ or inherently ‘bad.’” We
              see little difference between breaking a
              cash transaction into segments of less than
              $10,000 and making a contribution in the
              name of another.

              (3) The conduct at issue in both cases was
              made illegal by a regulatory statute.

Id. at 569.

           Because of these findings, the Court held that the

Government was required to prove that (1) the defendant was

aware that campaign treasurers were legally bound to accurately

report the sources of their contributions, (2) that the

defendant’s actions were taken with the specific intent to cause

the treasurer to submit false reports, and (3) that the

defendant knew that his actions were unlawful.         Id. at 570-71.

           More recently, though, the Third Circuit backpedaled

from a Ratzlaf-like standard to a Bryan-like one.          Citing Bryan,

it held in United States v. Starnes that the required mens rea

for Sections 2(b) and 1001 was “knowledge of the general

unlawfulness of the conduct at issue.”        583 F.3d 196, 211

(2009).   Thus, it now seems that no circuit courts currently

invoke a Ratzlaf or Cheek level of mens rea with respect to

Sections 2(b) and 1001.



                                    38
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 39 of 52 PageID# 512



           The D.C. Circuit considered and expressly rejected

Curran, requiring no heightened mens rea for these statutes.            In

United States v. Hsia, 176 F.3d 517 (D.C. Cir. 1999), the Court

found that Curran “extend[ed] Ratzlaf too far.”         Id. at 522.

The Court noted that the antistructuring statute in Ratzlaf

explicitly applied to persons “willfully violating” that

statute.   Id.   This language, the Court held, created a narrow

exception inapplicable to the mens rea required by Sections 2(b)

and 1001, which do not explicitly require their “willful

violat[ion].”    Id.   Thus, the Court held that “the government

may show mens rea simply by proof (1) that the defendant knew

that the statements to be made were false (the mens rea for the

underlying offense, § 1001), and (2) that the defendant

intentionally caused such statements to be made by another (the

additional mens rea for § 2(b)).”        Id.; see also United States

v. Gabriel, 125 F.3d 89, 99-102 (2d Cir. 1997), abrogated on

other grounds by Arthur Andersen LLP v. United States, 544 U.S.

696 (2005); United States v. Fieger, No. 07-cr-20414, 2008 WL

996401, at *5-6 (E.D. Wis. Apr. 8, 2008) (following Hsia);

United States v. Pierce O’Donnell, No. CR 08-872 (C.D. Cal. Jun.

8, 2009) (following Hsia, cited by Defendants here).

           Hsia’s ruling rests on an analysis that seems no

longer valid.    It focused on the absence of the words “willfully

violat[es]” in Section 2(b), which instead applies where a


                                    39
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 40 of 52 PageID# 513



person “willfully causes” an act to be done that happens to

violate a statute.    But the Supreme Court made clear, in Jerman

v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA that the

combination of a mens rea requirement with the word “violation”

does not create a mistake of law defense.        130 S. Ct. 1605, 1613

(2010).   Thus, Hsia’s grounds for distinguishing Ratzlaf are no

longer persuasive.     See also United States v. Moore, 612 F.3d

698 (D.C. Cir. 2010) (Kavanaugh, J., concurring) (noting that

“Hsia referenced a 1994 Third Circuit opinion [Curran] that pre-

dated the Supreme Court’s clarifying decisions in Bryan and

later cases,” and that, as a result, Hsia’s mens rea ruling may

need to be reconsidered).

             With the Fourth Circuit never having spoken on this

issue, this Court applies the same analysis as with Counts Two

and Three.    First, in considering whether to apply Ratzlaf and

Cheek’s strictest mens rea standard, this Court again considers

whether the law reaches a tax-like level of complexity or

obscurity.    That is a more difficult question with respect to

Sections 2(b) and 1001 because those sections embrace a far

broader range of conduct that Sections 2(b) and 441f.

             The act of causing a false, fraudulent, or fictitious

statement to be made to an executive agency could easily apply

in a tax case like Cheek, see, e.g., Clancy v. United States,

365 U.S. 312, 313 (1961) (defendants charged with making false


                                    40
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 41 of 52 PageID# 514



statements under § 1001 and with tax evasion under § 7201 (the

same tax statute as in Cheek)), as well as a firearms dealing

case like Bryan, see, e.g., United States v. Kubowski, 85 F.

App’x 686 (10th Cir. 2003) (defendants charged with making false

statements under § 1001 and with dealing firearms without a

license under 18 U.S.C. § 924(d) (the same statue as in Bryan)).

           Thus, because Cheek and Bryan’s mens rea standards are

different, § 1001 cannot apply a uniform mens rea standard; the

mens rea to be applied must depend on the conduct charged (i.e.,

the law (if any) that makes the statement at issue allegedly

false, fraudulent, or fictitious).       Here, the Court has already

found that Bryan’s mens rea applies to the law proscribing the

making of a campaign contribution in the name of another.           The

hypothetical innocent proud-parent is equally capable of meeting

the actus reus for Sections 2(b) and 1001 as he was for Counts

Two and Three.    Bryan’s mens rea standard must therefore apply

to a false-statements charge based on a charge of making a

campaign contribution in the name of another.

                               *    *     *

           Thus, for the reasons explained in Parts A and B of

this Memorandum Opinion, Defendants’ arguments as to statutory

construction and mens rea do not provide a basis for dismissing

Counts Two, Three, Six, and Seven.




                                    41
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 42 of 52 PageID# 515



           C.   Count Four and Citizens United

           Count Four charges Defendants with directing

contributions of corporate money to the 2008 Presidential

Campaign in violation of 2 U.S.C. § 441b(a), 2 U.S.C. §

437g(d)(1)(A)(i), and 18 U.S.C. § 2.       Section 441b(a) of FECA

bans direct corporate contributions to campaigns for federal

office.   Defendants claim that under the logic of the Supreme

Court’s decision in Citizens United v. FEC, 130 U.S. 876 (2010),

this ban violates the First Amendment and that Count Four must

therefore be dismissed.

           Citizens United involved a non-profit corporation that

produced a highly critical film about Hillary Clinton during her

2008 presidential candidacy.      Because the film was in effect “a

feature-length narrative advertisement that urges viewers to

vote against Senator Clinton,” it was subject to 2 U.S.C. §

441b’s provision barring corporations or unions from making

independent expenditures as defined by 2 U.S.C. § 431(17) or

expenditures for “electioneering communications” as defined by 2

U.S.C. § 431(f)(3).    The Court held the independent expenditure

ban unconstitutional because it found that independent

expenditures do not trigger the government’s interest in

preventing quid pro quo corruption or the appearance of

corruption.




                                    42
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 43 of 52 PageID# 516



             This ruling stemmed largely from the Supreme Court’s

opinions in Buckley v. Valeo, 424 U.S. 1 (1976), and First Nat’l

Bank of Boston v. Bellotti, 435 U.S. 784 (1978).          Buckley

involved FECA’s limits on direct campaign contributions and on

independent election-related expenditures.         Dealing first with

direct contribution limits, the Court found a “sufficiently

important” government interest in “the prevention of corruption

and the appearance of corruption” that justified limiting the

amount a person could contribute to a federal campaign.             Id. at

25.   The Court was concerned that large direct contributions,

i.e., those over the limits, could be used “to secure a

political quid pro quo.”     Id.   As for independent expenditure

limits, however, the Court found less quid pro quo risk “because

[of] the absence of prearrangement and coordination” between the

donor and any specific candidate.         Id. at 47-48.

             Importantly, because of the strong government interest

in preventing quid pro quo corruption or its appearance, Buckley

permitted FECA’s limits on direct contributions even though the

contributions implicate fundamental First Amendment interests.

Id. at 23.    It follows that contributions within FECA’s limits

do not create a risk of corruption or its appearance--indeed,

that is the point of the limits.         Id. at 25.

             Two years after Buckley, the Supreme Court in Bellotti

considered a Massachusetts statute prohibiting corporate


                                    43
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 44 of 52 PageID# 517



contributions or expenditures to influence the outcome of a vote

on any referendum.    On one hand, the Court explicitly declined

to rule on the constitutionality of the statute’s ban on

“corporate contributions or expenditures” for the purpose of

supporting or opposing a campaign for political office.           Id. at

787 n.26.   On the other hand, the Court found that the identity

of a corporation as “speaker,” especially in the context of

political speech, is of no consequence to the First Amendment

protection its speech is afforded.       Id. at 784-85.

            The Supreme Court seized on the latter point in

Citizens United, combining it with Buckley to strike down a ban

on independent corporate expenditures.        The Supreme Court’s

logic was that because Buckley found that independent

contributions by human beings do not corrupt, and because

Bellotti held that “the First Amendment does not allow political

speech restrictions based on a speaker’s corporate identity,”

130 S. Ct. at 903, corporations cannot be banned from making the

same independent expenditures as individuals.         130 S. Ct. at

899-903.

            That logic is inescapable here.      If human beings can

make direct campaign contributions within FECA’s limits without

risking quid pro quo corruption or its appearance, and if, in

Citizens United’s interpretation of Bellotti, corporations and

human beings are entitled to equal political speech rights, then


                                    44
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 45 of 52 PageID# 518



corporations must also be able to contribute within FECA’s

limits.

           Only one other court appears to have ruled on this

issue since Citizens United.      In Minnesota Citizens Concerned

for Life, Inc. v. Swanson, the plaintiffs challenged a state-law

ban on corporate contributions to candidates and political

parties, arguing that the ban was unconstitutional under

Citizens United.    741 F. Supp. 2d 1115 (D. Minn. 2010).         The

court disagreed, finding that Citizens United’s holding was

limited to corporate independent expenditures and was not a

repudiation of Buckley’s limitations on direct contributions to

candidates.   Because Citizens United did not overrule Buckley,

the court held, a ban on direct corporate contributions remained

constitutional.    Id. at 1132-34.

           This Court agrees that Citizens United did not

overrule Buckley.    Indeed, Citizens United noted that limits on

direct contributions to candidates, “unlike limits on

independent expenditures, have been an accepted means to prevent

quid pro quo corruption.”      Citizens United, 130 S. Ct. 909

(citing McConnell v. FEC, 540 U.S. 93, 136-38 (2003)).           But this

Court respectfully disagrees with the Swanson court as to the

import of these facts.     That Citizens United did not overrule

Buckley and that it reaffirmed Buckley’s concern with preventing

quid pro quo corruption does not justify flatly banning


                                    45
 Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 46 of 52 PageID# 519



corporations from making direct donations while permitting

individuals to make such donations within FECA’s limits.

             This Court recognizes that it must strive to avoid

rendering constitutional rulings except where absolutely

necessary.        Ashwander v. Tenn. Valley Auth., 297 U.S. 288, 347

(1936).   But for better or worse, Citizens United held that

there is no distinction between an individual and a corporation

with respect to political speech.         Thus, if an individual can

make direct contributions within FECA’s limits, a corporation

cannot be banned from doing the same thing.          So because

individuals can directly contribute to federal election

campaigns within FECA’s limits, and because § 441b(a) does not

allow corporations to do the same, § 441b(a) is unconstitutional

and Count Four must be dismissed.14

             D.      Bill of Particulars as to Count Six

             Mr. Danielczyk argues that the Count Six of the

Indictment fails to set forth a false statement to an executive

agency that he caused to be made and seek a bill of particulars

identifying the document allegedly containing false statements,

as well as the allegedly false statements itself.

14
  Importantly, this finding hardly gives corporations a blank check (so to
speak) to directly contribute unlimited amounts to federal campaigns.
Rather, corporations are subject to the same FECA contribution limits as
individuals. See 2 U.S.C. § 441a(a) (listing limits on contributions from a
“person”); 2 U.S.C. § 431(11) (“When used in this Act . . . [t]he term
‘person’ includes an individual, partnership, committee, association,
corporation, labor organization, or any other organization or group of
persons.” (emphasis added)).


                                     46
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 47 of 52 PageID# 520



           Pursuant to Rule 7(f), the Court may direct the

Government to file a bill of particulars.        The decision whether

to grant or deny a motion for a bill of particulars is within

the sound discretion of the trial court.        United States v.

Anderson, 481 F.2d 685, 690 (4th Cir. 1973).         The purpose of a

bill of particulars is “to enable a defendant to obtain

sufficient information on the nature of the charge against him

so that he may prepare for trial, minimize the danger of

surprise at trial, and enable him to plead his acquittal or

conviction in bar of another prosecution for the same offense.”

United States v. Schembari, 484 F.2d 931, 934-935 (4th Cir.

1973) (citing United States v. Dulin, 410 F.2d 363, 364 (4th

Cir. 1969)).   It “is not to be used to provide detailed

disclosure of the government's evidence in advance of trial.”

United States v. Automated Medical Labs., Inc., 770 F.2d 399,

405 (4th Cir. 1985) (citing Anderson, 481 F.2d at 690).

Instead, a bill of particulars “merely amplifies the indictment

by providing missing or additional information so that the

defendant can effectively prepare for trial.”         United States v.

Fletcher, 74 F.3d 49, 53 (4th Cir. 1996) (citations omitted).

If “the indictment adequately details the charges, or the

information requested is otherwise available, then no bill of

particulars is required.”      United States v. Esquivel, 755 F.




                                    47
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 48 of 52 PageID# 521



Supp. 434, 436 (D.D.C. 1990) (citing United States v. Butler,

822 F.2d 1191, 1193 (D.C. Cir. 1987)).

           Courts have found a bill of particulars unnecessary

where the Government opens its files to the defendant.           See,

e.g., Schembari, 484 F.2d at 935 (upholding the trial judge’s

denial of a bill of particulars because “the underlying

objectives of a Rule 7(f) motion were fully satisfied by the

government's voluntary disclosure of its file”); United States

v. Duncan, 598 F.2d 839, 849 (4th Cir. 1979) (finding that the

“appraisal function of an indictment” may be satisfied if the

Government opens its investigative file for the Defendant’s

inspection).   “Open file” discovery, however, is not required.

See United States v. Cuong Gia Le, 310 F. Supp. 2d 763, 782

(E.D. Va. 2004) (finding a bill of particulars unwarranted where

the government had provided and would continue to provide the

facts and circumstances of the offense through ongoing

discovery).

           Here, it seems that the Government made clear in its

Opposition brief precisely the document and false statements at

issue.   The Government said: “In this case, the [Clinton]

campaign filed the required quarterly finance report with the

FEC in April 2007 which falsely included the names of the

conduit contributors as the actual sources of the funds to the

Clinton presidential campaign.”       (Opp. at 38.)    This statement


                                    48
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 49 of 52 PageID# 522



informed Mr. Danielczyk as to the document containing the

allegedly false statements, as well as the false statements

themselves.      Because the April 2007 FEC Report was turned over

in discovery, no bill of particulars is needed here.

            E.     Sufficiency of Count Seven

            Count Seven of the Indictment alleges that Mr.

Danielczyk “knowingly and wilfully caused the submission of a

materially false, fictitious, and fraudulent statement and

representation” in violation of 18 U.S.C. § 10010(a)(2).

Indict. ¶ 31.     That allegedly false statement is contained in a

December 2007 letter that Galen’s outside counsel sent the FEC

detailing the conduct underlying the FECA counts of the

indictment, specifically the statement that the reimbursements

of contributions to the Presidential Campaign were bonus

payments.   Indict. ¶¶ 13b, 13e.      Mr. Danielczyk argues that the

statements contained in it were not false and, even if they were

false, were not “material” for purposes of § 1001.          (Danielczyk

MTD at 28.)

            In terms of actual falsity, Mr. Danielczyk essentially

argues that Count Seven misrepresents the statement he made to

the FEC.    Whereas Count Seven alleges that the letter falsely

represented to the FEC that “reimbursements of contributions . .

. were bonus payments for work performed,” (Indict. ¶ 31), Mr.

Danielczyk notes that the letter’s executive summary actually


                                    49
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 50 of 52 PageID# 523



states that “some of the reimbursements were associated with a

planned bonus related to the consummation of a corporate

transaction.”   Thus, Mr. Danielczyk argues, “[t]o the extent

Count 7 rests on the premise that [his letter] denies the

payments were reimbursements and represents them to be bonuses

instead, that is simply incorrect,” because his letter in fact

admits that the payments were reimbursements and that they were

improper. (Danielczyk MTD at 28-29.)

           In this Court’s view, Count Seven rests on the much

simpler premise that, in fact, the reimbursements were not bonus

payments at all and that it was a lie to tell the FEC otherwise.

That premise is not negated by the statement that “some” of the

reimbursements were associated with bonuses, as that means

“some” were not.     Moreover, the body of the letter states that

“Mr. Danielczyk stated that the checks provided” to employees

“at or about the time of the” 2007 campaign event “were the

first instalment on a series of bonus payments [Danielczyk]

intended to make as a result of the [corporate] transaction,

although [Danielczyk] acknowledges that the payments were timed

to allow employees and others to attend” the 2007 campaign

event.   Id. at 6.    This statement flatly provides that the

payments “were the first instalment on a series of bonus

payments,” something that may or may not be true.          The

Indictment simply charges that it was not.


                                    50
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 51 of 52 PageID# 524



            Mr. Danielczyk next argues that Count Seven’s

allegedly false statement is immaterial.        (Danielczyk MTD at

29.)   Materiality is an element of a § 1001 violation, and the

allegedly false statement must have had “‘a natural tendency to

influence agency action or [be] capable of influencing agency

action.’”    United States v. Ismail, 97 F.3d 50, 60 (4th Cir.

1996) (quoting United States v. Norris, 749 F.2d 1116, 1122 (4th

Cir. 1984)).   Mr. Danielczyk argues that the letter “disclosed

to the FEC the entire course of conduct and [Galen’s outside

counsel’s] conclusion that campaign laws had been civilly

violated.   (Danielczyk MTD at 29.)      He claims that “the

additional statement that reimbursements were also associated

with bonus payments was not ‘capable of influencing’ how the FEC

chose to handle the matter.”      Id. (emphasis in original).

            “Materiality, as an element of a criminal offense, is

a question of fact (or at the very least, a mixed question of

law and fact) to be resolved by the fact finder.”          United States

v. Garcia-Ochoa, 607 F.3d 371, 376 (4th Cir. 2010).          And here,

as Mr. Danielczyk’s letter devotes a significant amount of time

to discussing this bonus claim, this Court finds sufficient

ground to leave it to the jury whether that bonus claim was

material to the FEC.




                                    51
Case 1:11-cr-00085-JCC Document 60 Filed 05/26/11 Page 52 of 52 PageID# 525



           F.   The Objects of the Conspiracy Alleged in Count
                One Corresponding to Counts Two, Three, and Four

           Finally, Defendants argue that Counts Two, Three, and

Four must be dismissed from the Indictment as the objects of

Defendants alleged conspiracy.       Because this Court is dismissing

Count Four but not Counts Two and Three, this Court agrees

solely with respect to Count Four.        As this Court finds that 2

U.S.C. § 441b(a) is unconstitutional following Citizens United,

a violation of that statute can no longer serve as the object of

a conspiracy.   United States v. Burgos, 94 F.3d 849, 860 (4th

Cir. 1996) (“[T]he essence of [a conspiracy] is an agreement to

commit an unlawful act.”) (emphasis added).         Thus, Paragraph

10(b), which repeats Count Four’s allegations as an object of

the conspiracy, must be struck.

                            IV.    Conclusion

           For these reasons, the Court will grant dismissal with

respect to Count Four and Paragraph 10(b) from the Indictment,

and will deny dismissal as to the remaining counts.




                                                /s/
May 26, 2011                              James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




                                     52
